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                        EXHIBIT I
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Stein, Micah D.

From:                                    Nemelka, Michael N. <mnemelka@kellogghansen.com>
Sent:                                    Thursday, March 14, 2019 12:11 PM
To:                                      'Aundrea K Gulley'; SERVICE-EXTERNAL-DMS-MDL
Cc:                                      ReynoldsTeam (gibbsbruns.com)
Subject:                                 RE: In Re DMS: Defendants' Fact Witness Correspondence


**EXTERNAL SENDER**

Dear Andi,

For all the reasons outlined in your email yesterday with respect to MDL Plaintiffs’ 30(b)(6) deposition notices of CDK
and Reynolds, we too are not yet able to confirm the dates for the 30(b)(6) depositions of Plaintiffs. Indeed, the
situation is even more difficult for us where Defendants have noticed 60 topics for Cox Automotive, for example,
requiring three days of depositions. We will provide you with dates as soon as we can, and we appreciate the
scheduling issues involved, which we share.

On scheduling, we note that Defendants have indicated they plan to take 8 third party depositions between March 25
and April 30, but the calendar and deposition protocol allow Defendants to take only 6 third-party depositions in that
time frame. So that we do not needlessly prepare for depositions, please let us know as soon as possible which 6 third-
party depositions Defendants actually plan on taking.

Thanks,
Mike

From: Aundrea K Gulley [mailto:agulley@gibbsbruns.com]
Sent: Thursday, March 14, 2019 10:53 AM
To: SERVICE-EXTERNAL-DMS-MDL <SERVICE-EXTERNAL-DMS-MDL@lists.kellogghansen.com>
Cc: ReynoldsTeam (gibbsbruns.com) <reynoldsteam@gibbsbruns.com>
Subject: RE: In Re DMS: Defendants' Fact Witness Correspondence

Counsel,

Plaintiffs have not confirmed or suggested alternative dates within the discovery period for the party depositions
identified on March 6 (below). Please do so promptly. Pursuant to the Deposition Protocol Order these were due
yesterday, and as you know we are facing significant scheduling challenges.

Thank you,
Andi


Aundrea K. Gulley | Gibbs & Bruns LLP | 1100 Louisiana Suite 5300 | Houston, TX 77002 | 713.650.8805 firm | 713.751.5258 direct | 713.750.0903
fax | agulley@gibbsbruns.com | www.gibbsbruns.com




From: Aundrea K Gulley
Sent: Wednesday, March 6, 2019 10:34 PM

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           Case: 1:18-cv-00864 Document #: 631-9 Filed: 04/17/19 Page 3 of 3 PageID #:24181
To: SERVICE-EXTERNAL-DMS-MDL <SERVICE-EXTERNAL-DMS-MDL@lists.kellogghansen.com>
Cc: Reynolds Team <reynoldsteam@gibbsbruns.com>
Subject: In Re DMS: Defendants' Fact Witness Correspondence


Counsel,

In addition to the witnesses previously discussed, and pursuant to our agreement on Wednesday, February 27,
Defendants nominate the following additional party and non-party witnesses for deposition as follows:

Parties:
    1. Two Cox Rep depositions (see single combined notice, but Defendants expect this will take two days and count
         as two). Requested for April 25-26.
    2. Authenticom Rep regarding data and related issues (see attached notice). Requested for April 16.
    3. Autoloop Rep regarding data and related issues (see attached notice). Requested for April 10.
    4. Cox Rep regarding data and related issues (see attached notice). Requested for April 4. *Please note that even if
         this date is rejected, Defendants request that this deposition occur at least 14 days before the deposition(s)
         requested in #1.
    5. As discussed at the meeting last week, Defendants withdraw their request for Mr. Bennick and instead request
         Neal East (Xtime) on April 15.

Non Parties:
   1. William Lamm. (Represented by Kellogg). Requested for April 8.
   2. Patrick McKinley. Mr. McKinley is available on April 23 in Peoria, Illinois.
   3. Accel-KKR Corporate Rep. This notice was circulated earlier today with a requested date of April 16.
   4. National Automotive Dealers Association Rep. This notice was circulated earlier today with a requested date of
       April 30.
   5. Serra Automotive Inc. Rep. Notice forthcoming with a requested date of March 26.
   6. David Brookshire. Notice forthcoming with a requested date of April 1.

Thank you,
Andi

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fax | agulley@gibbsbruns.com | www.gibbsbruns.com




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